       Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 1 of 14 PageID #:19


                                                                          FIL/3E0/2D017              BG
                                                                               10
                                                                                          . BRUTO N
                                                                             THOMA.SDG  IS TRICT COUR
                                                                                                      T
                                                                          CLER K , U .S
NORMA WILLCOXSON
MELVIN WILLCOCKSON
1915 North Frazier
Conroe, Texas 77301
713-542-1110
Pro Se Defendants



                         IN THE UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF ILLINOIS



  Hannah Nuszen
                         Plaintiff,                    MOTION OF DEFENDANTS
  V.                                                   ANSWER, ASSESSMENT TO
                                                       DISMISS, OR ALTERNATIVE
  Norma Willcockson,                                   MOTION FOR SUMMARY
                                                       JUDGMENT
  Melvin Willcockson
                         Defendants.                   17 CV 5750


                                                       Judge Blakey
                                                       Magistrate Judge Finnegan


                                       INTRODUCTION



       Defendants NORMAWILLCOXSON AND MELVIN WILLCOCKSON (collectively

"NWMW") move to dismiss all ofplaintiffHannahNuszen's claimsagainstthem. This motionis

briefedas prescribed in D.U.Civ.R. 7-in3¥3')(A') and 56-1.


                             Identification of Parties to this Motion


        PlaintiflfHannah Nuszen purports to have been a minorat the time of any of the alleged

 actions. She will be identified herein as "Hannah Nuszen." Defendants NORMA

 WILLCOXSON AND MELVIN WILLCOCKSON will be identified collectively as

 "NWMW," except whenthe contextrequires otherwise.
       Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 2 of 14 PageID #:20




                                                     Answer


        Defendant's deny or have no knowledge of allegations in 13-14, in 15 agree in part that they

were enlisted byJack Nuszen on December lb'*", 2013, to supervise the transportation of a child, and

deny all other allegations in 15, and deny or have no knowledge of 16-23. NWMW deny Count One

against them and are not mentioned by name in Counts Two, Three, or Four. Ms. Nuszen's

"Declaration" is a cheap, nonsensical attempt to avoid being sued in State Court for the libel,

slander, abuse of process, and intentional infliction of emotional distress that her mother has

heaped on NW in other lawsuits.

                                                     Motion



        Pursuantto PRC? 12(b)and DK ivR 7-1,DefendantNWMWmovesto dismissfor the following

reasons: (1) This Court lacks of personal jurisdiction, (2) Plaintiff Hannah Nuszen's lackof standing, (3)

This Court lacks subject matter jurisdiction and should abstain from hearing the case since it would

otherwise be engaging in appellate review of ajudgmententered against the Plaintiffs motherin a Texas

state court, (4)This Court is notthe propervenuefor hearing thiscase (5) The Complaint fails to statea

claim for which relief can be granted, (6) Statute of Limitations on any legal claim, and (7) The

Complaint is sovague and ambiguous thatit fails to fairly putDefendant NWMW onnotice ofthe basis

for the lawsuit.


                    The relief sought is dismissal as against Defendant NWMW



         In this motion,NWMW assertsthat Hannah Nuszen has no legal authorityto prosecute

 thislawsuit and any causes of actions would have expired after two years. All actions against

 NWMWGOH started per Petitioner's Factual Allegations on December lb"", 2013. Therefore,
 her complaint mustbe dismissed.
      Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 3 of 14 PageID #:21




         There is no personaljurisdiction over Defendants.

         Dismissal is sought for lack ofsubject matter jurisdiction. Fed. R. Civ. P. ntbyil.

 under the "Rooker-Feldman doctrine." Dismissal is alternatively sought under "preclusion

 doctrine," a component offederal statutory "full faith and credit" law. NWMW's over-arching

 argument, under either doctrine, is that a state court judgment, adverse to Haimah Nuszen,

 plainly disqualifies her from filing any legal actions on behalf ofHN.

                                         Reserved Defenses


       In moving to dismiss under the above-specified grounds, NWMW does not waive any other

defenses that might altematively support summary disposition. At least several such altematives

exist. These include: (1) Unavailability ofa private cause ofaction, against private actors, for Child

Abduction, Interference of Custody, and Agreement to Abduct fi-om Custody, (2) the causes of

action alleged are Texas Penal codes and should therefore be heard in Texas, if anywhere, and (3)

Failure to comply with Fed.R Civ. P. 8. 9, and 12(f) pleading standards. NWMWGOH reserves its

prerogativeto raisethese altemativedefenses, and any other available altemativedefenses, in later

proceedings—r/this Court denies this motion, as permitted by Fed. R. Civ. P. 12(hl.

                       Inapplicability of Rule 12 and Rule 56 Presumptions

       NWMW pauses to deny each and every allegation ofmisconduct in Hannah Nuszen's

 complaint.

       The complaint is prolix,rambling, and vague. Hannah Nuszen's mother has previously

 directed grievances against seven discrete private and governmental entities (plus ten "Does").

 Hannah Nuszen hereups the previous totals by filing against 16individuals and 100doe(s).

 Although, infact, most ofPlaintiffs pleadings are lifted almost directly jfrom hermother's current
       Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 4 of 14 PageID #:22




 pleading in the Texas Federal Court, including Texas Penal law.

        Nonnally, in considering a motion to dismiss or a motion for summaryjudgment, this

Court will presume the truth of all well-pleaded factual allegations made by the nonmoving party.

But in this case, very few such well-pleaded andfactual allegations appear in the complaint.

Amidst all the verbiage, NWMW gleans allegations to the effect that HN is the minor daughter of

Mirium Nuszen and codefendant Jack Nuszen. Hannah Nuszen alleges that she was admitted to

NWMW's care by her father, codefendant Nuszen, apparently against her wishes. That much may

be presumed true, for purposes ofthis motion.

         But otherwise, Hannah Nuszen's complaint merely lists "labels and conclusions," or

 "naked assertions devoid of fiirther factual enhancement.".^.rhcro/? v. labal. 556 U.S. 662.678


 (20091 (quoting authority). She asserts as "fact" that defendants are "human traffickers". Overall,

 the complaint appears more calculated to inflame than to inform. In any event, in this case, as in

lahaL "[i]t is the conclusory nature of respondent's allegations, rather than their extravagantly

fanciful nature, that disentitles them to the presumption oftruth." 556 U.S. at 681.

          STATEMENT OF ELEMENTS AND UNDISPUTED MATERIAL FACTS


                             Statement re; Federal Court Jurisdiction


       Hannah Nuszen asserts "federal question" jurisdiction, per 28 U.S.C. g 1331. and venue

 under 28 U.S.C. 1391(b).


                             Statement re; Personal Jurisdiction of NWMW


               This Court Lacks General Personal Jurisdiction Over Defendant NWMW



                This Court lacks general personal jurisdiction over Defendant NWMW due to a lackof

sufficient contact with the state of Illinois. The plaintiff generally bears the burden of establishing
                                                   4
       Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 5 of 14 PageID #:23




personal jurisdiction. Dudnikov v. Chalk & Vermilion Fine Arts, Inc., 514 F.3d 1063, 1069 (10th

Cir. 2008). To do so, the plaintiff "need only make a prima facie showing of personal jurisdiction."

Id. at 1070. "General jurisdiction is based on an out-of-state defendant's 'continuous and systematic'

contacts with the forum state, and does not require that the claim be related to those contacts with the

forum state." Shraderv. Biddinger, 633 F.3d 1235, 1239 (10th Cir. 2011) (quoting Dudnikov, 514 F.3d

at 1078). "Simplybecause a defendanthas a contractual relationship and businessdealings with a person

or entity in the forum state does not subject him to generaljurisdiction there."Shrader, 633 F.3d at 1246-

47.


        The "continuous and systematic" contacts required by due process to exercise general personal

jurisdiction over a non-resident defendant is typically only found whenthe defendant is incorporated in

the forum state, regularly does business in the forum state, or habitually visits the forum state. See id.

(the ongoing business relationship with forum statewas insufficient to support general jurisdiction).

        Here, Plaintiff does not and cannot even allege that the Defendant NWMW has ever visited

Illinois, is or was domiciled in Illinois, or was otherwise engaged in anything remotely close to

"continuous and systematic" activity within Illinois. Instead, Plaintiffalleges that Defendant NWMW

is a private resident of Texas who conduct business in Texas. This is not enough under the foregoing

authority to satisfy general jurisdiction. Shrader, 633 F.3d at 1239. As such. Plaintiffs claims against

Defendant NWMW should be dismissed for lack of general personal jurisdiction.

            This Court Lacks Specific Personal Jurisdiction Over Defendant NWMW
        This Court lacks specific personal jurisdiction over Defendant NWMW. The test for

establishing specific personal jurisdiction involves two questions: (1) whether the applicable forum

state statute permits service on the defendant, and (2) "whether the exercise of such statutory

jurisdiction comports with constitutional due process demands." Dudnikov, 514 F.3d at 1070. Due

                                                      5
                                                  5
      Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 6 of 14 PageID #:24




process requires that the defendant have "minimum contacts" with the jurisdictional territory of the

forum, so that the suit "does not offend 'traditional notions of fair play and substantial justice.' Intl

Shoe Co. V. State of Wash., Office of Unemployment Comp. & Placement, 326 U.S. 310, 316 (1945).

"The requirements of International Shoe, however, must be met as to each defendant over whom a

state court exercises Jurisdiction". Walden v. Fiore, 134 S. Ct. 1115, 1123 (2014) (quoting Rush v.

Savchuk, 444 U.S. 320, 332 (1980)).
        Additionally, the "plaintiffs bear the burden of establishing personal jurisdiction." Dudnikov,

514 F.3dat 1069. A prima facie showing of specific personal jurisdiction is required. Id. at 1170.

       Plaintiffs claims under 42 U.S.C. § 1983 do not singularly "confer nationwide service of

process or jurisdiction upon federal district courts to adjudicate claims, [so] Fed.R.Civ.P. 4(lc)(l)(A)

refers us to the [Utah] long-arm statute." Trujillo v. Williams, 465 F.3d 1210, 1217 (10th Cir. 2006)

(noting that 42 U.S.C. 1983 does not confer nationwide jurisdiction).

       Defendants have never been to Illinois nor had any contact with Petitioner in Illinois.


                     Elements Required for NWMW to Prevail on this Motion


         To prevail on this motion, NWMW mustdemonstrate the existence of thejust-

 mentioned state courtjudgment, and demonstrate that it bars Hannah Nuszen's complaintin

 this Court. If the ^'Rooker-Feldman doctrine"applies,this Court lacks subjectmatter

 jurisdiction, requiring dismissal under rule 12(b)(1). If"preclusion doctrine" applies, Hannah

 Nuszen is barred from complaining to this Court, requiringdismissalunder Fed. R. Civ. P.

 12(b)(6)(failure to state claim upon which relief can be granted)

                                         Undisputed Material Facts



         HannahNuszen's premisethat she is a properplaintiffin this Court,is false, as the

                                                    6
     Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 7 of 14 PageID #:25




following facts demonstrate:

   1. Custody of HN, and custody ofher siblings, was the subject ofdivorce proceedings tha.t

       were instituted in 2008, in a Harris County, Texas trial court.

   2. On November 20,2013, the Texas trial court entered a 29-page "Order in Suit to Modify

       the Parent-Child Relationship." The Texas trial court's order included the following

       features:


       a. Codefendant Nuszen was appointed "iSo/e Managing Conservator"over HN and

            her siblings.(Order p. 3, in Exh. 1, emphasisadded.)

       b.       Miriam Blank was appointed "a parent conservator." (Id. p. 4.)

       c. As "sole managing conservator," the Texas trial court granted codefendant

            Nuszen certain "exclusiverights" and duties (emphasis added), including:

            i. "the right to consentto psychiatric and psychological treatmentofthe children;"

            ii. "the right to represent the children in legal action and to make other decisions of

                     substantial legal significance concerning the children[.]"


       d. The Texas trial court formd that its orders "are in the best interest ofthe children." (Id.

            p. 3.)

   3. The Texas trial court's order was entered after a jury trial that spaimed fourteen days. (Id.

       p. 1.)

   4. OnApril 3,2014,Petitioner's mother filed her 1®^ complaint in thisCourt in the Utah

       Federal Court. After the case was dismissed by this court, the second case was filed on

       November IS***, 2015. Another case wasfiled July 31®*, 2017, in Texas Federal Court, and

       on August 4'*', 2017, an almost identical complaint is filed against ushere in thisCourt by
                                                   7
     Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 8 of 14 PageID #:26




        Petitioner.

                                              ARGUMENT:



                          THE TEXAS STATE COURT JUDGMENT
                              BARS HANNAH NUSZEN'S COMPLAINT

      • At first blush, this seems to be a simple, commonsense proposition: the Texas trial court's

November2013 "Order in Suit to Modifythe Parent-Child Relationship," granted codefendant

Nuszen the exclusive possession andaccess forHN, defeats her argument she was abducted by

Defendant's under Nuszen's control, and bars her complaintin this Court. That being the case

NWMW cannot be held liablefor operating undercolorof law in transporting the minorchild

in this case.


        Analysis of thisproposition implicates at least two different legal theories. One is the

"Rooker-Feldman doctrine,"named for two United StatesSupremeCourt cases decidedin 1923

and 1983.^ Another is"preclusion doctrine" under the federal "full faith and credit" statute, 28
U.S.C.A. S 1738 fWestlaw 2014).Aspen addresses these alternatives in order.

                         ComplaintBarred byRooker-Feldman Doctrine

        The Rooker-Feldman doctrine embodies the rule that United States district courts lack

jurisdiction over appeals from state courtjudgments. That jurisdiction isexclusively lodged with

the United States Supreme Court, per28U.S.C. 6 1257 fWestlaw 2014). See Exxon Mobil Corp.

V. Saudi Basic Industries Corp.. 544 U.S. 280.283 (2005).

        In this case, in order for HannahNuszen to pursueher sweeping claimsagainstAspen

and the other defendants, she must have authority to do so. As HN's parent, Nuszen had an

absolute right to have his child transported. Such authority is granted exclusively tocodefendant
      Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 9 of 14 PageID #:27




 Nuszen, with respect to HN and her siblings.

         Under 28 U.S.C. S 1257 and the Rooker-Feldman doctrine, this federal District Court

 lacksjurisdictionto hear such appeal from that ruling. It is barredfrom reviewing "cases brought

 by state-court losers complaining of injruies caused by state-courtjudgments rendered before the

 district court proceedings commenced and inviting district court review and rejection ofthose

 judgments." Exxon Mobil Corp.. 544 U.S. at 284. Accordingly, Hannah Nuszen's complaint

 must be dismissed, for lack of subject matter jurisdiction, Fed. R. Civ. P. 12fb¥n.


                             Complaint Barred byPreclusion Doctrine

         Ifthis Court somehow has subject matterjurisdiction, federal "preclusion doctrine"

 alternatively requires dismissalofthe complaint This doctrinearises from the "full faith and

 credit" statute. Bradvv. UBS Financial Services. Inc.. 538 F.3d 1319.1327.(10''' Cir. 2008). This
 statute providesthat statejudicial decisions, properlyauthenticated, "shall havethe same full

 faith and credit in every court within the United States and its Territories and Possessions as

 they have by law or usage in the courts of such State, Territoryor Possession from which they

 are taken." 28 U.S.C.A. § 1738 (Westlaw 2014), quoted and explained in Allen v. McCurrv,

 449 U.S. 90.96 (1980). The statute reinforces "the comity between state and federal courts that

 has been recognized as a bulwark ofthe federal system." Id.

       To determine whethera state courtjudgment bars a federal court complaint, this Court must

apply the law of thestate where thejudgment was rendered. Brady, 538 F.3d at 1327. Therefore,

for this case, Texas preclusion law applies.

       Claim preclusion, sometimes still called resjudicata, seeAllen v. McCurrv. 449U.S. at

 94n. 5. requires proofofthree elements in Texas: (1) a prior final judgment onthe merits bya
     Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 10 of 14 PageID #:28




 court ofcompetentjurisdiction; (2) identityof the parties (or privitywith a party); (3) a second

 action based on the same claim (or claim that could have been raised in the first action). Amstadt

 V. United States Brass Corp.. 919 S.W.2d 644.652 (Texas 1996), cited andfollowed in Proctcfr

 & Gamble Co.. et al. v. Hausen. etal. 158 F.Supp.2d 1286.1297 (D. Utah 2001).

       That claimis precluded by Texaspreclusion law because: (1) theTexas trial court rejected

it on the merits, by granting"exclusive" authority, to codefendant Jack Nuszen,"to representthe

children in legal action    "

        The conclusion is inescapable. Under the fiill faith and credit statute, this Court must

 honor the Texas trial court's judgment. Under that judgment, Hannah Nuszen can bring no claim

 in this Court. Hannah Nuszen's claim, in this Court, must be dismissed under 28 U.S.C.A. §

 1738 and under Fed. R. Civ. P. HlbKbl.



        On appeal,the Tenth Circuitdid not even addressthis Court's constitutional ruling. It

 simply enforcedthe state court decisionsundersection 1738,applyingUtah preclusionlaw. That

 law requiredUtah statecoiirtsto honor the decisionin question, and therefore, this Court was

 alsorequired to honorthatdecision. 698F.3dat 1301-1302. The Tenth Circuit remanded the

 matter, directingthis Court to dismiss the complaint. Id. at 1302.

         For similar reasons, this Court should dismiss this complaint. Hannah Nuszen broadly

 claims that the Texas trial court reached its judgment by improper means.Principlesofcomity

 and federalism, embodied in federal preclusion doctrine, requireher to pursuethat claimin the

 Texas state courts. If she does not win relief from the Texas courts, she may eventually petition

 the United States Supreme Courtfor review. Butshe cannot appoint this Courtas a roving

                                                  10
     Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 11 of 14 PageID #:29




arbiter of the legitimacy ofthe Texas state court system.

                                           CONCLUSION


        As explained herein, Hannah Nuszen can only pursue her complaint ifshe has authority

to do so.


        I was hired to chaperone the child and father to the facility of the father's choice. I was

not a transporter by any definition. I never touched the child or drove the car. There are no

factual allegations that I ever did either ofthose things.

        We are not a federal attorneys nor can we afford to travel and retain one in the

jurisdiction of this Court. I believe that this case was filed with the purpose to harass and

further injure our reputation. I would ask you make the appropriate findings as this has caused

an enormous amoimt of stress and taken a serious toll on me.


        My apologiesif I have filed this response later than I should have. When the process

server left it at my home when I was not there I didn't know Federal laws allow someone to toss

the pleading at my home and leave. I have tried to get together funds to find a lawyer in your

area but have already spent what I had on the other lawsuits, well over $25,000. Thank you for

reading this.

        I am requestingthat the case dismissed against NWMW to be dismissed for (1)

completelack ofjurisdiction over us here in Texas, and (2) failure to state a legal claim and that

any claim would be barred by statute of limitations.

      RESPECTFULLY SUBMITTED and FILED by Certifiedmail this 24th dav of

October, 2017.



                                                  11
     Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 12 of 14 PageID #:30




                                      /s/ Norma Willcoxson / Melvin Willcockson
                                      Pro Se



                                CERTIFICATE OF SERVICE


        I hereby certifythat a true and correct copyofthe foregoing document was served via the

 Court's e-filing,and by e-mail transmission, this 24th day of October,2017, to the following:




Hannah Raquel Nuszen
5707 N. Christiana Avenue
Chicago, Illinois 60659




                                               12
                                                                                                                         OCnilMtU MAIL
                                                                              WiacocvssoAj
                                                                              U})UCoc>!SStM                                                          $4.54F
                                                                                                                                                  US POSTAGE §
                    1915A). Fftpzi£«--^I04                                                                                                        FIRST-CLASS §
                                                                                                                                                06230006146992
                                                                                                                                                   from 77304
                                                                                  20^                              TDIS 3D10 OQQO 0473 tj53=i
Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 13 of 14 PageID #:31




                                                                                                                                    k.v
                                                                                              (J[ ,5. OisTtMcrCa^i^r
                                                                                                                       fX)iS
                                                                                                      tfel L
      iKOia.3Hl Olfi}dO*l3AN3 dO dOnv,U3^DaS aOV,3d




-V;




                                                            OCT 3 02017
                                                                                  Case: 1:17-cv-05750 Document #: 8 Filed: 10/30/17 Page 14 of 14 PageID #:32




                                                        ^^^•^cPNoilfwCT^FTuNOlS
                                                      SOUTHERN  OjSTRJCp^^g
